     Case 5:97-cr-00003-LGW-BWC Document 1911 Filed 11/07/08 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                            WAYCROSS DIVISION

UNITED STATES OF A14ERICA

v.
                                            CASE NO. CR597-003
CHRISTOPHER L. GREEN,

        Defendant.


                                 ORDER

        Before the Court are Defendant Christopher L. Green's

Motion for Reconsideration (Doc. 1906) and Request to

Proceed on Appeal In Forma Pauperis (Doc. 1909).                  After

careful         consideration,        Defendant's       Motion      for

Reconsideration and Request to Proceed on Appeal In Forma

Pauperis are DENIED.

        As the Court informed Defendant in its earlier Order,

the appropriate means for Defendant to seek a reduction of

sentence based upon overturned state convictions is to file

a challenge to his sentence under 28 U.S.C. § 2255.                (See

Doc. 1903.)          Because Defendant has previously filed a

§ 2255 Petition, he must first file an "Application for

Leave to File a Second or Successive Habeas Corpus

Petition" with the Eleventh Circuit Court of Appeals.

After receiving permission from the Eleventh Circuit,

Defendant may then submit a § 2255 petition to this Court.
 Case 5:97-cr-00003-LGW-BWC Document 1911 Filed 11/07/08 Page 2 of 2



     Due to the clear inability of this Court to entertain

a second § 2255 petition without certification from the

Eleventh Circuit, the Court finds Defendant's appeal to be

frivolous and without merit.           Accordingly, Defendant's

Request is DENIED.

     Accordingly, the Court DENIES Defendant's Motion for

Reconsideration and Request to Proceed with Appeal In Forma

Pauperis.

     SO ORDERED this i'       day of November, 2008.




                      WILLIAM T. MOORE, JR., CHIEF JUDGE
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
